
Judge Brooke
pronounced the following opinion of the court:
“It seems to the court here that the said judgment is erroneous in this, that the office judgment was entered at rules before the plaintiff (now defendant) had filed his declaration ;(1) and in this, also, that the judgment was entered against the plaintiff (in error) as sheriff, upon his return that the said Samuel Oliver and John Pash had been taken and escaped; the court being of opinion that the sheriff could not be made liable for an escape, but by a suit brought against him for that purpose.”(2) Judgment, therefore, reversed; all proceedings subsequent to the writ set aside; and cause remanded to be further proceeded in.

 Note. See the 35th and 36th sections of the district court law. Rev. Code, v. 1. p. 80.


 Note. See the 3d section of the law concerning escapes. Rev. Code, v. 1. p. 119.

